Case 2:14-cv-04054-R-MAN Document 33 Filed 02/22/17 Page 1 of 2 Page ID #:169




 1
     Stephen M. Doniger (SBN 179314)
     stephen@donigerlawfirm.com
 2   Scott A. Burroughs (SBN 235718)
 3
     scott@donigerlawfirm.com
     Frank Gregory Casella (SBN 301494)
 4   fcasella@donigerlawfirm.com
 5
     DONIGER / BURROUGHS
     603 Rose Avenue
 6   Venice California 90291
 7
     Telephone: (310) 590-1820

 8   Attorneys for Plaintiff
 9

10
                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
11
     MALIBU TEXTILES, INC.,                    Case No.: 14-CV-4054-R-MAN
12                                             Hon. Manuel L. Real Presiding
13   Plaintiff,
                                                STIPULATION TO ALLOW
14   v.                                         FILING OF THIRD AMENDED
15                                              COMPLAINT
     LABEL LANE INTERNATIONAL,
16   INC., et al.,                             [[Proposed]Order and Third Amended
17                                             Complaint Submitted Herewith]
     Defendants.
18

19

20         WHEREAS, the Parties have conferred regarding the Second Amended
21   Complaint;
22         WHEREAS, the Parties wish to address perceived issues with the Second
23   Amended Complaint without Court intervention;
24         WHEREAS, amending the pleading is in the interest of judicial efficiency;
25

26

27

28                                           -1-

                    STIPULATION TO ALLOW FILING OF THIRD AMENDED COMPLAINT
Case 2:14-cv-04054-R-MAN Document 33 Filed 02/22/17 Page 2 of 2 Page ID #:170




 1
           THEREFORE, the parties, by and through their undersigned counsel, hereby

 2
     stipulate as follows:

 3
           1.     Plaintiff’s Third Amended Complaint, a copy of which is attached hereto

 4
                  as Exhibit A, shall be filed; and

 5
           2.     Defendants reserve all rights and defenses and may file their response

 6
                  within 21 days of the filing of the Second Amended Complaint.

 7

 8
           SO STIPULATED.

 9
     Dated: February 22, 2017         By:   /s/ Frank Gregory Casella
10                                          Stephen M. Doniger, Esq.
11
                                            Frank Gregory Casella, Esq.
                                            DONIGER / BURROUGHS
12                                          Attorneys for Plaintiff
13

14   Dated: February 22, 2017         By:   /s/ Staci Jennifer Riordan
15                                          Staci Jennifer Riordan, Esq.
                                            NIXON PEABODY LLP
16                                          Attorneys for Defendant
17

18

19

20

21

22

23

24

25

26

27

28                                             -2-

                    STIPULATION TO ALLOW FILING OF THIRD AMENDED COMPLAINT
